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                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF FLORIDA



 EDGAR BAEZ,

 Plaintiff,
                                                       Case No.:10-23205-CIV-Altonaga/Brown
 vs.
 VIKING COLLECTION SERVICES, INC.,

 Defendant.
 ___________________________________/


                   PLAINTIFF’S NOTICE OF VOLUNTARY DISMISSAL
                                 WITH PREJUDICE

         Having amicably resolved all matters in controversy and pursuant to Federal Rule of

 Civil Procedure 41(a)(1)(i), Plaintiff voluntary dismisses this action with prejudice.



 Dated: October 4, 2010                        Respectfully submitted,


                                               /s Andrew I. Glenn
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